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 1   Scott E. Schutzman, Esq. SBN 140962
     LAW OFFICES OF SCOTT E. SCHUTZMAN
 2   2124 Main Street, Suite 130
 3   Huntington Beach, California 92648
     Tel: 714-374-0099
 4
     Email: schutzy@msn.com
 5
 6   Jeffrey A. Neiman, Esq. Pro Hac Vice Pending
     MARCUS NEIMAN RASHBAUM & PINEIRO LLP
 7   100 Southeast Third Avenue, Suite 805
 8   Fort Lauderdale, Florida 33394
     Tel: 305-400-4269
 9   Email: jneiman@mnrlawfirm.com
10
     Attorneys for Petitioner, Sabena Puri
11
12                        UNITED STATES DISTRICT COURT
13
                         CENTRAL DISTRICT OF CALIFORNIA
14
15   SABENA PURI,                            Case No.
16
           Petitioner,
17                                              PETITION TO QUASH THIRD
     v.
18                                                  PARTY SUMMONS
                                               ISSUED TO CITIBANK, N.A. BY
19
     UNITED STATES OF AMERICA,                   THE INTERNAL REVENUE
20                                                      SERVICE
         Respondent.
21
22
23
24         Petitioner Sabena Puri, pursuant to 26 U.S.C. § 7609(b), moves the Court to
25
     quash a third-party summons issued on or about March 27, 2020, by the Department
26
27   of Treasury, Internal Revenue Service, to Citibank N.A.. Per 26 U.S.C. § 7609(b),
28
     Petitioner Puri has the right to intervene with respect to any third-party summons

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 1   because it seeks records relating to her. In support of her Petition, she states as
 2   follows:
 3
                           PARTIES, JURISDICTION, AND VENUE
 4
 5          1.     Sabena Puri is a natural person. She is a United States citizen whose
 6
     address is 2149 High Street, Palo Alto, California 94301.
 7
 8          2.     This Court has subject matter jurisdiction over this Petition pursuant to
 9   28 U.S.C. § 1331 and 26 U.S.C. § 7609(h). Citibank N.A. is found in this judicial
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     district because it has a physical presence here. Specifically, Citibank N.A. has at
11
12   least four branch offices in Orange County California, which include a branch office
13
     at 18232 Irvine Blvd, Tustin, California, 92780. See Williams v. United States, Case
14
15   No. 1:05-mc-6, 2005 WL 3105404, at *2 (E.D. Tenn July 29, 2005) (“A branch
16
     office indicates a significant presence within the district, and I conclude it is
17
18   sufficient to support subject matter jurisdiction under 26 U.S.C. § 7609(h)(1).”)

19   Further, the summons calls for delivery of the requested document to take place in
20
     this judicial district.
21
22          3.     Venue is proper pursuant to 28 U.S.C. § 1391(e) because the
23
     respondent is the United States and a substantial part of the events or omissions
24
25   giving rise to the claim is to occur here. Specifically, the summons calls for delivery
26   of the requested document to take place here.
27
28


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 1                             THE SUMMONS AND NOTICE
 2         4.     On or about March 27, 2020, the Internal Revenue Service issued a
 3
     third-party summons to Citibank N.A. that requested certain bank records related to
 4
 5   Petitioner for the sixteen-year period from April 1, 2003 to March 31, 2019. A copy
 6
     of this summons is attached to this Petition as Exhibit A. The summons specifically
 7
 8   requests records from Citibank, N.A., that include “all transactions of Sabena Puri.”
 9         5.     Internal Revenue Code § 7609(a)(1) requires the IRS to serve notice of
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     the summons upon any person to whom the requested records relate. The IRS must
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12   do so “within 3 days of the day on which such service is made [upon the third-
13
     party], but no later than the 23rd day before the day fixed in the summons as the day
14
15   upon which such records are to be examined.” Further, “[s]uch notice shall be
16
     accompanied by a copy of the summons which has been served and shall contain an
17
18   explanation of the right under [§ 7609(b)(2)] to bring a proceeding to quash the

19   summons.”
20
           6.     No Notice of Summons has ever been served upon Petitioner Puri, as
21
22   required by 26 U.S.C. § 7609(a). Instead, Petitioner Puri learned of the summons
23
     from the recipient of the summons—Citibank N.A. This notification from Citibank,
24
25   N.A. did not include any notice of rights under § 7609(a). Nevertheless, when
26   Citibank N.A. informed Petitioner Puri of the summons, she hired counsel to
27
     explore her rights and file the instant petition.
28


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 1         7.     The summons purports to be made pursuant to Article 28 of the
 2   Convention Between the Government of the United States of America and the
 3
     Government of the Republic of India for the Avoidance of Double Taxation and the
 4
 5   Prevention of Fiscal Evasion with Respect to Taxes on Income (“the Convention”)
 6
     and in connection with “the India Income Tax Liabilities” of the Petitioner.
 7
 8              THE SUMMONS MUST BE QUASHED FOR LACK OF NOTICE
 9         8.     Respondent’s failure to provide Petitioner with the statutorily mandated
10
     notice requires this Court to quash the summons. See Kalra v. United States, Case
11
12   No. 12-cv-3154, 2014 WL 242763, at *1 (N.D. Ill. Jan. 21, 2014) (Quashing a
13
     similar petition based upon inadequate notice to the Petitioner). Petitioner’s Palo
14
15   Alto address is in the possession of the IRS and has been included on her Form 1040
16
     tax returns for years. Yet the IRS never delivered the summons to that address, or to
17
18   Petitioner by any other means as of the present date.

19         9.     The grounds upon which a district court must quash an IRS summons
20
     are well established. The burden of resisting a motion to quash the summons rests
21
22   with the Government. “To defeat a petition to quash, or to enforce a summons, the
23
     government must establish that (1) the investigation will be conducted for a
24
25   legitimate purpose; (2) the material being sought is relevant to that purpose; (3) the
26   information sought is not already in the IRS’s possession; and (4) the IRS complied
27
     with all the administrative steps required by the Internal Revenue Code.”
28


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 1   Crystal v. United States, 172 F.3d 1141, 1143–44 (9th Cir. 1999) (emphasis added)
 2   (citing United States v. Powell, 379 U.S 48, 57–58 (1964)).
 3
           10.    The IRS has not complied with the administrative steps required by
 4
 5   Internal Revenue Code because it has not served Petitioner with appropriate notice
 6
     as § 7609(a) requires. Accordingly, the Petition must be granted and the summons
 7
 8   must be quashed. Jewell v. United States, 749 F.3d 1295 (10th Cir. 2014)
 9   (concluding that “the 23-day notice requirement is mandatory and an ‘administrative
10
     step’” and “Powell prevents enforcement of the summonses” because the IRS failed
11
12   to provide this notice).
13
           11.    That said, other circuits have held that an additional showing of
14
15   prejudice is required to quash a summons for failure to provide notice. See
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     Adamovicz v. United States, 531 F.3d 151, 161 (2d Cir. 2008); Cook v. United
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18   States, 104 F.3d 886, 889–90 (6th Cir. 1997); Sylvestre v. United States, 978 F.2d

19   25, 28 (1st Cir. 1992); United States v. Bank of Moulton, 614 F.2d 1063, 1066 (5th
20
     Cir. 1980). The Ninth Circuit has not addressed the matter.
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22         12.    But even if prejudice is required, such prejudice exists here. In J.B. v.
23
     United States, 916 F.3d 1161 (9th Cir. 2019), the Ninth Circuit expounded upon the
24
25   purpose of notifying an affected taxpayer before enforcing a third-party summons.
26   The Court observed that such notice “affords interested parties a meaningful
27
     opportunity to resolve issues and volunteer information” before the third parties are
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 1   substantially involved. Id. at 1164. While J.B. concerned notice that must be
 2   provided before contacts with third parties (which is not at issue here), the same
 3
     rationale applies after contact with the third-party.
 4
 5         13.    The IRS’s failure to follow § 7609(b)’s notice requirements has
 6
     deprived Petitioner Puri of sufficient time to discuss the summons with the IRS,
 7
 8   understand the summons’s purpose, and determine whether the parties can agree
 9   upon an unobjectionable scope of production.
10
          THE SUMMONS APPEARS TO LACK A LEGITIMATE PURPOSE
11
12         13.    Under Crystal v. United States, 172 F.3d 1141, 1143–44 (9th Cir. 1999)
13
     and United States v. Powell, 379 U.S 48, 57–58 (1964), the Court also must quash
14
15   the summons unless the Government can establish that the summons is issued in
16
     connection with an “investigation that will be conducted for a legitimate purpose”
17
18   and that “the material being sought is relevant to that purpose.” Crystal, 172 F.3d at

19   1143–44.
20
           14.     The burden is on the Government to establish the legitimate purpose of
21
22   an investigation and the relevance of the requested information to that investigation.
23
     Petitioner Puri is presently unable to effectively address this requirement given the
24
25   minimal information that she now has about the purpose of the summons.
26         15.    Nevertheless, certain features of the summons call its legitimate
27
     purpose into doubt and suggest that it may be an overly broad and impermissible
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 1   fishing expedition. Notably, the summons seeks sixteen years’ worth of Petitioner’s
 2   bank records, spanning almost the entirety of Petitioner’s working life. Further, this
 3
     period covers years during which Petitioner was and continues to be a resident of the
 4
 5   United States, filed United States income tax returns, claimed no foreign earned
 6
     income exclusion or related excess housing cost deduction on those returns, paid all
 7
 8   United States taxes normally imposed on filers of Form 1040, and was not properly
 9   subject to Indian income taxation..
10
           16.    A copy of the Convention is attached to this Petition as Exhibit B.
11
12   According to a notation of the face of the summons at issue in this matter, the
13
     summons seeks information under Article 28 of this Convention.
14
15         17.    Article 28, Paragraph 1 of the Convention permits the disclosure of tax
16
     information “for the prevention of fraud or evasion” of taxes (emphasis added).
17
18   Upon belief, the Republic of India has not requested (and could not legitimately

19   request) information in connection with an investigation into fraud or evasion by
20
     Petitioner. Any disclosure of tax information for any other purpose is not permitted
21
22   by the Convention and is otherwise forbidden by generally applicable US tax
23
     privacy law, see 26 U.S.C. § 6103.
24
25         18.    Article 28, Paragraph 3 of the Convention places limits on the
26   information that may be requested under that Article. The Convention states that “in
27
     no case” shall it require the contracting states to either (a) “carry out administrative
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 1   measures at variance with the laws and administrative practice of that or of the other
 2   Contracting State;” or (b) “supply information which is not obtainable under the
 3
     laws or in the normal course of the administration of that or of the other Contracting
 4
 5   State.” Further, Article 28, Paragraph 4 permits the obtaining of information only
 6
     “in the same manner and in the same form as if the tax of the first-mentioned State
 7
 8   were the tax of that other State and were being imposed by that other State.” United
 9   States law does not permit overbroad summons requests, and such overbroad
10
     requests are accordingly impermissible under the Convention and illegitimate under
11
12   Powell.
13
           19.    In considering similar summons issued at the request of other foreign
14
15   countries, this Court has required the IRS to demonstrate that the summons is not
16
     overbroad and that the IRS has properly evaluated the appropriateness of the
17
18   requests. See Yeong Yae Yin v. United States, Case No. 00-cv-06075, 2000 WL

19   33267334 (C.D. Cal. 2000) (enforcing such treaty-related summons only after
20
     concluding that (1) the IRS reviewed the Korean taxing authorities’ requests, and
21
22   determined that they were proper under the relevant convention and (2) the
23
     summons was not overbroad).
24
25         20.    Given the breadth of this summons, Petitioner’s knowledge of her own
26   lack of fraud, and the sixteen-year scope of the petition, it is unlikely that the IRS
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28


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 1   will be able to meet its burden to show that enforcement of the summons is
 2   appropriate. Accordingly, the summons should be quashed.
 3
                  Request for Limited Discovery and Evidentiary Hearing
 4
 5         21.    Alternatively, if the Court declines to quash the Internal Revenue
 6
     Service’s summons outright based on this Petition, the Petitioner requests (1) a
 7
 8   hearing and briefing schedule on the issues; and (2) limited discovery into the IRS’s
 9   evaluation of the purpose of the summons.
10
           WHEREFORE, the Petitioner respectfully requests the Court grant this
11
12   Petition to Quash the Internal Revenue Service summons, along with all such relief
13
     that is just and necessary. Or, alternatively, Petitioner requests the Court enter an
14
15   order setting forth a hearing date and briefing schedule, and granting Petitioner
16
     limited discovery as described herein.
17
18
19   Dated: May 28, 2020              Respectfully Submitted,
20
                                      /s/ SCOTT E. SCHUTZMAN
21                                    Scott E. Schutzman
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